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                                   09CV2684
                                   JUDGE CASTILLO
                                   MAGISTRATE JUDGE ASHMAN
                                   BR
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